
                                                                    








				











COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 

NO. 2-06-134-
CV



IN RE MACKIEL BILLINGSLEY	RELATOR

------------

ORIGINAL PROCEEDING

------------

MEMORANDUM
 
OPINION
(footnote: 1)
------------

The court has considered relator's petition for writ of mandamus 
and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's petition for writ of mandamus is denied.



PER CURIAM





PANEL A
: HOLMAN, J.; CAYCE, C.J.; and LIVINGSTON, J.		



DELIVERED: May 2, 2006



FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




